           Case 3:14-cv-30211-MGM Document 548 Filed 05/20/19 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                   WESTERN DIVISION

WILLIAM H. COSBY, JR.

                         Counterplaintiff,

              v.
                                                          Case No.: 3:14-cv-30211-MGM-DHH
TAMARA GREEN, et al.

                         Counterdefendants.


              JOINT REQUEST FOR TELEPHONIC STATUS CONFERENCE

        COME NOW the parties, by and through counsel, and hereby request that the Court hold

a telephonic status conference to discuss a matter that will narrow or eliminate the need for

dispositive motions practice. The parties respectfully request that the Court hold the requested

conference on May 21, 2019.1

        WHEREFORE, the parties respectfully request that the Court grant the foregoing

request.




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  If the Court cannot hold the requested conference on May 21, then the parties respectfully request that
the Court schedule the conference for the earliest available date, and that the Court extend the dispositive
motions deadline to that date.
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Case 3:14-cv-30211-MGM Document 548 Filed 05/20/19 Page 2 of 3



                                  Respectfully submitted,


                                  /s/ Matthew W. Tievsky___________
                                  Joseph Cammarata, Esq.
                                  Allan M. Siegel, Esq.
                                  Matthew W. Tievsky, Esq.
                                  CHAIKIN, SHERMAN,
                                  CAMMARATA & SIEGEL, P.C.
                                  The Law Building
                                  1232 Seventeenth Street NW
                                  Washington, D.C. 20036
                                  Ofc: (202) 659-8600
                                  Fax: (202) 659-8680
                                  E-mail: joe@dc-law.net
                                  Attorneys for Plaintiffs/
                                  Counter-Defendants

                                  /s/ Sarah Kelly-Kilgore___________
                                  Alan A. Greenberg, Esq.
                                  Wayne R. Gross, Esq.
                                  Sarah Kelly-Kilgore, Esq.
                                  GREENBERG GROSS LLP
                                  601 South Figueroa Street, 30th Floor
                                  Los Angeles, CA 90017
                                  (213) 334-7000
                                  Email: agreenberg@ggtriallaw.com
                                  wgross@ggtriallaw.com
                                  skellykilgore@ggtriallaw.com

                                  John J. Egan, Esq.
                                  Robert L. Quinn, Esq.
                                  Lauren F. Olanoff, Esq.
                                  Egan, Flanagan and Cohen, P.C.
                                  67 Market Street, P.O. Box 9035
                                  Springfield, MA 01102-9035
                                  (413) 737-0260
                                  Email: jje@efclaw.com
                                  rlq@efclaw.com
                                  lfo@efclaw.com




                              2
        Case 3:14-cv-30211-MGM Document 548 Filed 05/20/19 Page 3 of 3



                                  RULE 7.1 CERTIFICATE

       The parties are jointly making the foregoing request.

                                                    /s/ Matthew W. Tievsky___________
                                                    Matthew W. Tievsky




                               CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the NEF on May 20, 2019.



                                                    /s/ Matthew W. Tievsky___________
                                                    Matthew W. Tievsky




                                               3
